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   8                  IN THE UNITED STATES DISTRICT COURT
   9               FOR THE CENTRAL DISTRICT OF CALIFORNIA
  10                             SOUTHERN DIVISION
  11   BEAUTIVENTURES                          )   Civil Action No.
       INTERNATIONAL, LLC, a California        )   SACV 18-00567 AG(KESx)
  12   limited liability company, and          )
  13   BEAUTY ENCOUNTER, INC., a               )   ORDER GRANTING
       California corporation,                 )   STIPULATION OF DISMISSAL
  14                                           )   WITH PREJUDICE PURSUANT
                   Plaintiffs,                 )   TO FED. R. CIV. P.
  15                                           )   41(a)(1)(A)(ii)
            v.                                 )
  16                                           )   Hon. Andrew J. Guilford
  17   COUNTER BRANDS, LLC, a                  )
       Delaware limited liability company, and )
  18   COUNTER BRANDS, INC., a                 )
       Delaware corporation,                   )
  19                                           )
  20               Defendants.                 )

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   1        Pursuant to the stipulation of Plaintiffs Beautiventures International, LLC and
   2 Beauty Encounter, Inc., and Defendants Counter Brands, LLC and Counter Brands,
   3 Inc., through their counsel of record, and for good cause, IT IS HEREBY
   4 ORDERED THAT:
   5        This action is hereby dismissed with prejudice of all claims asserted.
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   7        IT IS SO ORDERED.
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  10 Dated: May 24, 2019
                                            Honorable Andrew J. Guilford
  11
                                            United States District Judge
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